             Case 18-23134-GLT                     Doc 1    Filed 08/03/18 Entered 08/03/18 15:38:49                           Desc Main
                                                            Document     Page 1 of 10
 Fill In this infonnatlon to Identify your case:

 United States Bankruptcy Court for the

 WESTERN                   OF PENNSYLVANIA

 Case number .r knç                                                          Chapter you are filing under.

                                                                             • Chaoer 7

                                                                             E   Chapte’ 11
                                                                             C Chapter 12
                                                                             C Chapter 13                                   Cneck if this ar
                                                                                                                            amended filing
                                                                                                               -    .1




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor land Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor land the other as Debtor 2. The same person must be Debtor I in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


           Identify Yourself

                                    About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

 1.   Yourfullname

      Write the name that is an     James                                                          Nicole
      your government-issued        7rsI nime                                                     Trinme
      picture identification (for
      example, yourdriver’s         A.                                                             M.
      license or passport)                                                                        Mi6di      name
                                    jjdje name                               -
                                                                                  --




      Bring your picture
                                    Orlando II                                                     Orlando
         see                        ndtthxr.,ir.iCThj                                                     eanaui?ixr.,Jr..fl,mj




 2.   All other names you have
      used in the last 8 years
      Include you’ married or
      maiden names.



 3.   Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-6863                                                   xxx-xx-2420
      Individual Taxpayer
      Identification number
      (ITIN)




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Debtor 1   James A. Orlando II
                                                           Document     Page 2 of 10
Debtor 2    Nicole M. Orlando                                                                        Case number       (1 known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      •   I have not used any business name or EINs.                     I have not used any business name or EINs
     used In the lasts years

     Include trade names arid    usTness nameis5                                               Business name(s)
     doing business as names




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 310 Windsor Drive
                                 CorçpoNs,PA15108                          -    -                                 -—      -                 -




                                 Number. Street. Ci:y, State & ZIP Code                        Number, Street, City. Sta:e & ZIP Coae

                                 Allegheny                                                     —




                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2s mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address,                       mailing address



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                     Check one:
     this district to file for
     bankruptcy                  •      Over the last 180 days before filing this petition,     •        Over the last 1 RD days before filing this petition, I
                                        I have lived in this district longer than in any                 have lived in this district longer than in any other
                                        other district,                                                  district.

                                 C      I have another reason.                                  C        I have another reason.
                                        Explain. (See 28 U.S C.    §   14DB.)                            Exolain. (See 28 U.S.C.    §   1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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Debtor 1    James A. Orlando, II
Debtor 2    NicoleM Orlando                                                                                    Case number (fknown)



           Tell the Court About Your Bankruptcy Case

7.    The chapter of the          Check one. (For a brief description of each, see Notice Required by II U.S.C. § 342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are     (Form 2010)) Also, go to the top of page 1 and check the appropriate box,
      choosing to file under
                                  • Chapter 7

                                  C Chapter 11
                                  C Chapter 12
                                  C Chapter 13


8.    How you will pay the fee    •        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address
                                  o        I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                            The Fifing Fee in Installments (Ocial Fo’m 103A),
                                  C        I request that my fee be waived (You may reouest this option only f you are fling for Chapter 7 Bylaw, a judge may.
                                           but is not required to. waive your fee, and may do so only if your ncome is ess than 150% of the official ccverty line tnat
                                           applies to your fam:y sze and you are unable to pay the fee in installments). If you choose this option, you must f:H out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Officia Form 103B) ard ifie it with your peticn



9.    Have you filed for          •   No
      bankruptcy within the
      last 8 years7               C Yes
                                                District                                 ier                                Case number
                                                District                                 Wnen                               Case number            -




                                                District                                 When                               Case number



10.   Are any bankruptcy          •   No
      cases pending or being
      flied by a spouse who is    C Yes
      not filing this Case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                          -                                          Relationship to you
                                                Distr,ct                                 When              -               Case number, if known
                                                Deotor                    -                            -
                                                                                                                           Relationship to you
                                                District                            -    Wnen                              Case number, if known


11.   Do you rent your            •   No         Goto line 12.
      residence?
                                  C Yes          Has ycur landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.

                                                 C         Yes Fill out Initial Statement About an Eviction Judgment Against You (Form lOlA) and file it as part of
                                                           this bankruptcy petition




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
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Debtor 1         James A. Orlando, II
Debtor 2         Nicole M. Orlando                                                                                       Case number     (wkncwn)




triia Report About Any Businesses You Own as a Sole Proprietor
12.   Are you a sole proprietor
      of any full- or part-time            • No         Go to Part 4.
      business?
                                           C   Yes.     Name and location of business
      A   sore   proprietorship                         —       —       -   —                     -
                                  is   a




      business you operate as                           Name of business, if any
      an individLal. and is not a
      separa:e lega ent’ty such
      as a corporation.
      partrershio. or LLC
      If you have more Man one                          N.nber. Street, City, State & ZIP Code
      sole prcprietorsnip. use a
      separate sheet and attach
      it to this petition.                              Check the appropriate box to describe your business:
                                                        Q      Hea:b Care Business (as defined in 11 U.S.C           §   iOl(27A))
                                                        Q       Single Asset Real Estate (as defined in 11 U.S.C.         §   i01(51))
                                                                Stockbroker (as defined in 11 U S.C.    §   101 (53A))
                                                        C       Commodity Broker (as defined in 11 U S.C.       §   101(6))
                                                                None of the above

13.   Are you filing under      If you are filing under Chapter II, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the         deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are operations, cash-flow statement, and federal Income tax return or if any of these documents do net exist, follow the procedure
      you a small business      in 11 U.S.C. 1116(1 )(B).
      debtor?
                                • No           lam not filing under Chapter 11
      For a definition of small
      business debtor see 11
                                    No.        lam filing under Chapter 11, but lam NOT a small business debtor according to the definition in the Bankruptcy
             §            ).                   Code.

                                           C   Yes.     lam filing under Chapter 11 and lam a small business debtor according to the definition in the Bankruptcy Code.


ina Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention
14.   Do you own or have any               • No
      property that poses or is
      alleged to pose a threat             C   Yes.
      of imminent and                                 What is the hazard?
      identifiable hazard to
      publIc health or safety?
      Or do you own any
      property that needs                             If mmediate attention is
      immediate attention?                            needeo. why is it needeo?

      For example, do you own
      perishable goods, or
      livestock that must be fed.                     Wrere is :re eropefly?
      or a building that needs
      urgent repairs?                                                               —   .    -—   -     —-      __.            --




                                                                                    Number, Street, City. State & Zip Code




 Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    James A. Orlando, II
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Debtor 2    Nicole WI. Orlando                                                                          Case number   (if known)


tFM. Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether          You must check one:                                           You must check one:
      you have received a                 I received a briefing from an approved credit             • I received a briefing from an approved credit
      briefing about credit               counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                         filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                          certificate of completion.                                    completion.
      The law requires that you
      receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
      credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
      you file for bankruptcy.
      You must truthfully check       C   I received a briefing from an approved credit             C   I received a briefing from an approved credit
      one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
      so, you are not eligible to         a certificate of completion.                                  of completion.
      lie.
                                          Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
      If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST lie a copy of the certificate and payment plan, if
      can dismiss your case, you          payment plan, if any.                                         any.
      will lose whatever filing fee
      you paid, and your              C   I certify that I asked for credit counseling              o   I certify that I asked for credit counseling services
      creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
      collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                          days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                          circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                          of the requirement.
                                                                                                        To ask for a 30-day temporary waiver of the requirement,
                                          To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                          requirement. attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                          what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                          you were unable to obtain it before you filed for             circumstances required you to file this case.
                                          bankruptcy, and what exigent circumstances
                                          required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                        with your reasons for not receiving a briefing before you
                                          Your case may be dismissed if the court is                    filed for bankruptcy.
                                          dissatisfied with your reasons for not receiving a
                                          briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons. you must still
                                          If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                          still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                          You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                          agency, along with a copy of the payment plan you             not do so, your case may be dismissed
                                          developed, if any If you do not do so, your case              Any extension of the 30-day deadline is granted only for
                                          may be dismissed.
                                                                                                        cause and is limited to a maximum of 15 days.
                                          Any extension of the 30-day deadline is granted
                                          only for cause and is limited to a maximum of 15
                                          days.
                                      C   lam not required to receive a briefing about              C   lam not required to receive a briefing about credit
                                          credit counseling because of:                                 counseling because of:

                                          C     Incapacity.                                             C    Incapacity.
                                                I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                making rational decisions about finances.                    decisions about finances.

                                          C     Disability.                                             C    Disability,
                                                My physical disability causes me to be                       My physical disability causes me to be unable to
                                                unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                by phone, or through the internet, even after I              through the internet. even after I reasonably tried to
                                                reasonably tried to do so.                                   do so.

                                          C     Active duty.                                            C    Active duty.
                                                lam currently on active military duty in a                   lam currently on active military duty in a military
                                                military combat zone.                                        combat zone.
                                          If you believe you are not required to receive a              if you believe you are not required to receive a briefing
                                          briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                          motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    James A. Orlando, II
Debtor 2    NicoleM. Prlando                                                                               Case number    (if known)



tFTt Answer Those Questions for Reporting Purposes

16.   What kind of debts do       16a,           Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.             § 101(8) as ‘incurred by an
      you have?                                  individual primarily for a personal, family, or household purpose.”
                                                 • No. Go to line 1Gb.

                                                 C Yes, Go to line 17.
                                  16b.           Are your debts primarily business debts7 Business debts are debts that you incurred to obtain
                                                 money for a business or investment or through the operation of the business or investment.
                                                 C No. Go to line 16c,
                                                 • Yes. Go to line 17,
                                  lGc            State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          C No.          lam no: filing under Chapter 7. Go to line 18.
    Chapter 7?

      Do you estimate that        • Yes          lam filing under Chap:er 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                       ‘   are paid that funds will be available to dis:ribute to unsecured oreditors?
      property is excluded and
      administrative expenses                    • No
      are paid that funds will
      be available for                           C Yes
      distribution to unsecured
      creditors?

18.   How many Creditors do       • 1-49                                             C i,ooo-5.000                              C 25,001-50.C00
      you estimate that you                                                          C 5001-10,000                              C 50,001-100,000
                                  C 50-99
                                  C 100-199                                          C 10,001-25,000                            C More thanlCo,000
                                  C 200-999

19.   How much do you             C so 550,0CC
                                         -                                           C $1,000,001 -SIC miron                    C      $soo.ooo,oo   -   Si billion
      estimate yourassets to      C $5D,oc1 $100,000
                                                  -                                  C 510,000,001 -550 million                 C      5I,000,C00,001 -$10 billion
      be worth?
                                  • $100,001          -   5500,000                   C $50,000,001 $100 million
                                                                                                     -                          C      S10,000,000.OD1 -$50 billion
                                  C $500,001 -51 million                             C sioo,ooo COl -$500 million               C      More than $50 billion


20.   How much do you             C $0- $50,000                                      C   51,000.001 -510 million                C      $500,030,001 -$1 billion
      estimate your liabilities   C 550,001- 5100.000                                C   $l0,C00,001 -$50 million               C      Sl,000.003,001 SIC b:ilicn
                                                                                                                                                          -


      to be?
                                  C 5100.001 S5Co.000 -                              C   sso,coo.ooi 51CC ml. on
                                                                                                     -                          C      510.000,000,301 $5C bilFon
                                                                                                                                                              -




                                  • 5500,001 -51 million                             C   51C0.000,00i -$500 million             C      More than $50 bi’:on


           Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title ii,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b)

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or properly by fraud in connection with a
                                  bankruptcy case can result in fines up to $250000, or imprisonment for up to 20 years, or both. 18 U.S.C. § 152. 1341, 1519,
                                  and 3571.
                                  1st James A. Orlando, II                                           1st Nicole Ni. Orlando
                                  James A. Orlando, II                                               Nicole M. Orlando
                                  Signature of Debtor 1                                              Signature of Debtor 2

                                  Executed on             August 3, 2018                             Executed on      August 3, 2018
                                                          M [55 iWW                                                   ‘MM [55 TWW



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Debtor 2   Nicole Mr  Pring2                                                                             Case number   (i/known)




For your attorney, if you are   I. me attor.9ey for the debtor(s) named in th:s oetition. declare that I have informed the debtor(s) about elig.bility o proceed
represented by one              under Chaoter 7, 11. 12. or 13 of title ii. United States Code, and have explained the relief availabe under each chapter
                                forwhich the person is eligibe. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S C. § 342(b)
If you are not represented by   and, in a case in wnich § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /&RobertOLampT                                                    Date        August 3, 2018
                                Signature of Attorney fcr Debtor                                              MM! DD / VYVY

                                RobertO Lampi 19809
                                Prpnio name

                                RobertO Lampi Law Office
                                Firm name

                                Benedum Trees Building
                                223 Fourth Avenue, 4th Floor
                                Pittsburgh, PA 15222
                                Number. Street, city. State & ZIP Coda

                                contact phone     412-392-0330                               cmaJ address        rlapllampllaw.com
                                19809
                                ear number A State




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                                                               United States Bankruptcy Court
                                                                    Western District of Pennsylvania
            James A. Orlando, II
  In re     Nicole M. Orlando                                                      -
                                                                                       -               Case No   —   -




                                                                                   Debtor(s)           Chapter   7




                                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      August 3, 2018                                               Is! James A.Orland II
                                                                         James A. Orlando, II
                                                                         Signature of Debtor

 Date:      August 3, 2018                                               is! Nicole M.Orlando
                                                                         Nicole M. Orlando
                                                                         Signature of Debtor




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                                              -                                                                                Best Case Bankruptcy
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                     American Express
                     P.O. Box 981537
                     El Paso, TX 79998

                     Bank of America
                     P.O. Box 31785
                     Tampa, F   33631-3785

                     Bayvi ew
                     4425 Ponce De leon 3ouevard
                     Coral Gables, Fl 33146

                     Bridgecres t
                     P.O. Box 29018
                     Phoenix, AZ 85038

                     Bridgeway Capital
                     1920 Gulf Tower
                     707 Grant Street
                     Pittsburgh, PA 15219

                     Chase Card
                     P.O. Box 15298
                     Wilmington, DE 19850

                     Citimortgage
                     P.O. Box 6243
                     Sioux Falls, SD 57117

                     Fifth Third Bank
                     5050 :Kingsey Drive, MD IMOOCOP
                     Cincinr.ati, OH 45263

                     Fifth Third Bank
                     PC Box 740778
                     Cincinnati, OH 45274—0778

                     Hill Barth and King
                     400 Broad Street, #1006
                     Sewickley, PA 15143

                     Mr. Cooper
                     P.O. Box 60516
                     City of Industry,      CA 91716

                     Nationwide Credit (Chase Bank USA)
                     P.O. Box 14581
                     Des Moines, IA 50306—3581

                     Painting With A Twist, ILC
                     820 LaFicce Street, Suite 104
                     Mandeville, LA 70448
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                     PNC Bank
                     P.O. Box 3429
                     Pittsburgh,      PA 15230—3429

                     PNC Bank
                     P.O. Box 747066
                     Piccsburgh, PA 15274—7055

                     PNC Bank
                     P.O. Box 5570
                     Cleveland,     DH 44101

                     Portfolio Recovery (Capital One)
                     120 Corporate Boulevard, Suite 100
                     Norfolk, VA 23502

                     PWSA
                     P.O. Box 747055
                     Pittsburgh, PA 15274—7055

                     Seterus Inc.
                     14523 SW Nillikan Way, Suite 200
                     Beaverton, OR 97005

                     ShellPoinc
                     55 Beattie Place, Suite 600
                     Greenville, SC 29601
